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UNITED STATES OF AMERICA




INHANCE TECHNOLOGIES LLC                      5:22-cv-05055-JFM




                    21           February             23

                                 Susan Cook
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                                                   IN THE UNITED STATES DISTRICT COURT
                                                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                                                 Civil Action No#   5:22-cv-05055-JFM

                        APPLICATION FORM FOR THOSE ATTORNEYS SEEKING TO PRACTICE IN THIS COURT
                                  PURSUANT TO LOCAL RULE OF CIVIL PROCEDURE 83.5.2(b)

I. APPLICANT’S STATEMENT

         I, Susan Cook                                            the undersigned, am an attorney who is not currently admitted to
either the bar of this court or the bar of the Supreme Court of Pennsylvania, and I hereby apply for admission to practice in this
court pursuant to Local Rule of Civil Procedure 83.5.2(b), and am submitting a check, number               , for the $40.00 admission
fee.

A.      I state that I am currently admitted to practice in the following state jurisdictions:
                     Maryland Court of Appeals                 12/15/1998            199812150138

                   (State where admitted)                (Admission date)           (Attorney Identification Number)
                     District of Columbia Court of Appeals     5/3/1999                462978
                     (State where admitted)                  (Admission date)       (Attorney Identification Number)


                     (State where admitted)                  (Admission date)       (Attorney Identification Number)


B.      I state that I am currently admitted to practice in the following federal jurisdictions:

                   USDC for the District of Columbia           5/1/2006              462978
                   (Court where admitted)                (Admission date)           (Attorney Identification Number)

                   USDC for the Eastern District of            8/14/2007
                                               Texas
                     (Court where admitted)                  (Admission date)       (Attorney Identification Number)
                     USDC for Maryland                         1/15/2021             21636
                     (Court where admitted)                  (Admission date)       (Attorney Identification Number)
                                                                                     (see attached sheet)
C.      I state that I am at present a member of the aforesaid bars in good standing, and that I will demean myself as an attorney
        of this court uprightly and according to law, and that I will support and defend the Constitution of the United States.

        I am entering my appearance for                  ___________________________________________
                                                         (Applicant’s Signature)

                                                          February 21, 2023
                                                         ___________________________________________
                                                         (Date)

           &*3. 5/ "6621,*49;8 %173        Hogan Lovells US LLP

           "--7.88                         555 13th Street, NW, Washington, DC 20004
           ).2.6054. &:3+.7                (202) 637-6684
           $3*12 "--7.88
                                           susan.cook@hoganlovells.com

       I declare under penalty of perjury that the foregoing is true and correct.


                    February 21, 2023
       Executed on __________________________                                     ______________________________________
                            (Date)                                                        (Applicant’s Signature)

                                                                                                                              04/20
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 II. SPONSOR’S STATEMENT, MOTION AND CERTIFICATE OF SERVICE

           The undersigned member of the bar of the United States District Court for the Eastern District of Pennsylvania
 hereby moves for the admission of Susan Cook                                                                         to practice
 in said court pursuant to Local Rule of Civil Procedure 83.5.2(b), and certify that I know (or after reasonable inquiry believe)
 that the applicant is a member in good standing of the above- referenced state and federal courts and that the applicant’s
 private and personal character is good. I certify that this application form was on this date mailed, with postage prepaid, to
 all interested counsel.

 Virginia A. Gibson
 ______________________               _________________________               12/3/1980
                                                                             ____________________        32520
                                                                                                       ___________________
 (Sponsor’s Name)                     (Sponsor’s Signature)                  (Admission date)           (Attorney
                                                                                                       Identification No.)


 SPONSOR’S OFFICE ADDRESS AND TELEPHONE NUMBER:

      Hogan Lovells US LLP

     1735 Market Street, Floor 23, Philadelphia, PA 19103

      (267) 675-4600




I declare under penalty of perjury that the foregoing is true and correct.


              2/21/2023
Executed on __________________________                          ____________________________________________
                        (Date)                                               (Sponsor’s Signature)
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                                   IN THE UNITED STATES DISTRICT COURT
                                FOR THE EASTERN DISTRICT OF PENNSYLVANIA
     UNITED STATES OF AMERICA
                                                          :             Civil Action
                                                          :
                  v.                                      :
                                                          :
     INHANCE TECHNOLOGIES LLC                             :             No.: 5:22-CV-05055-EGS


                                             CERTIFICATE OF SERVICE


                                                                                        Susan Cook
                 I declare under penalty of perjury that a copy of the application of _________________________,

Esquire, to practice in this court pursuant to Local Rule of Civil Procedure 83.5.2(b) and the relevant proposed

Order which, if granted, would permit such practice in this court was served as follows:


All Parties Served via ECF




                                                                        ____________________________________
                                                                        (Signature of Attorney)

                                                                         Virginia A. Gibson
                                                                        ____________________________________
                                                                        (Name of Attorney)
                                                                         Inhance Technologies LLC
                                                                        ____________________________________
                                                                        (Name of Moving Party)

                                                                          2/21/2023
                                                                        ___________________________________
                                                                        (Date)
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B.      I state that I am currently admitted to practice in the following additional
        federal jurisdictions:


        U.S. Court of Appeals for the Federal Circuit    11/2/2004

        U.S. Court of Appeals for the Fourth Circuit     5/5/2000

        U.S. Court of Appeals for the District of Columbia March 2015
        U.S. Court of International Trade                6/14/2019
